Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 1 of 10




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:18-cv-00337-WJM-KMT:

   CHRISTOPHER P. SWEENEY, and NIKOLE M. SWEENEY,

   Plaintiffs,

   vs.

   CITY OF COLORADO SPRINGS, COLORADO,
   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC,

   Defendants.
   _______________________________________________________________________________

     DEFENDANTS STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC. AND
   DIVERSIFIED PROPERTY MANAGEMENT, LLC’S MOTION TO DISMISS PURSUANT TO
                                 FED. R. CIV. P. 12(b)(6)
   _______________________________________________________________________________

           Defendants, Stetson Hills Master Home Owners Association, Inc. and Diversified

   Property Management, LLC, by and through their attorneys, Karen Wheeler, Brian Waters and

   Jami Maul of the firm Wheeler Waters, Professional Corporation, hereby submit their Motion to

   Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6) and state as follows:

                                              Introduction

           Plaintiffs Christopher Sweeney and Nikole Sweeney filed this lawsuit against the City of

   Colorado Springs, Stetson Hills Master Home Owners Association, Inc and Diversified Property

   Management, LLC. Plaintiffs’ sole claim against Defendants Stetson Hills Master Home Owners

   Association, Inc. (hereinafter “Stetson Hills”) and Diversified Property Management, LLC

   (hereinafter “Diversified”) is a claim made pursuant to 42 U.S.C. § 3601, the Fair Housing Act.
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 2 of 10




   See Complaint, pp. 24-26, Seventh Claim, ¶¶ 141-153.

          Plaintiffs’ claim against Stetson Hills and Diversified must be dismissed because

   Plaintiffs fail to state a cognizable claim pursuant to the Fair Housing Act. Plaintiffs base their

   claim on an allegation that Stetson Hills and Diversified have failed to make a requested

   reasonable accommodation for Mr. Sweeney’s disability.1 However, based on applicable law and

   the allegations in the Complaint, Plaintiffs have not sufficiently pleaded a claim for failure to

   provide a requested reasonable accommodation pursuant to the Fair Housing Act. Plaintiffs do

   not allege with sufficient specificity a failure to provide a reasonable accommodation “necessary

   to afford [a disabled] person equal opportunity to use and enjoy a dwelling.” 42 U.S.C. §

   3604(f)(3)(B). Moreover, as Plaintiffs allege in the Complaint, the sidewalks in question are city-

   controlled and Plaintiffs fail to allege how Stetson Hills and Diversified could enforce any

   requirements over property they do not control. For these reasons, set forth in more detail below,

   Plaintiffs’ Complaint against Stetson Hills and Diversified must be dismissed in its entirety.

                                      Authorities and Argument

          A.      A motion to dismiss must contain sufficient factual allegations to raise a right

   to relief above a speculative level and state a claim to relief that is plausible on its face.

          A motion to dismiss made pursuant to Fed.R.Civ.P. 12(b)(6) for failure to state a claim

   must be granted unless the complaint includes “enough facts to state a claim to relief that is

   plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 554, 570 (2007). In order to survive



   1
     Defendants understand that the Court has to accept Plaintiffs’ specific factual allegations
   pleaded in the Complaint as true when evaluating this motion to dismiss, but do wish to state that
   they dispute that the Plaintiffs ever actually made the request on which they base their claim.

                                                    2
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 3 of 10




   a motion to dismiss, “the factual allegations of the complaint must be enough to raise a right to

   relief “above the speculative level” and a plaintiff must “provide the grounds of his entitlement

   to relief.” Id. at 555 (internal citations omitted). “Only a complaint that states a plausible claim

   for relief survives a motion to dismiss” and therefore, “a complaint must contain sufficient

   factual matter, accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft

   v. Iqbal, 556 U.S. 662, 678-79 (2009) (quoting Twombly, 550 U.S at 570). “A plaintiff's

   obligation to provide the grounds of his entitlement to relief requires more than labels and

   conclusions, and a formulaic recitation of a cause of action's elements will not do.” Bell Atl.

   Corp. v. Twombly, 550 U.S. at 555 (internal citations omitted). In reviewing the motion, the

   Court must accept all well-pleaded allegations in the complaint as true and construe them in

   favor of the non-moving party. Williams v. Meese, 926 F.2d 994, 997 (10th Cir. 1991). While

   generally the Court cannot consider materials outside the complaint without converting the

   motion to a motion for summary judgment, the Court may consider “documents referred to in the

   complaint if the documents are central to the plaintiff’s claim and the parties do not dispute the

   documents’ authenticity.” Alvarado v. KOB-TV, LLC, 493 F.3d 1210, 1215 (10th Cir. 2007).

          B.      The allegations in Plaintiffs’ Complaint do not give rise to a claim under the

   Fair Housing Act for a failure to provide a reasonable accommodation.

          According to the Complaint, Plaintiffs base their Fair Housing Act claim on an allegation

   that Stetson Hills and Diversified failed to provide a requested accommodation for his disability.

   See Complaint at ¶¶ 149-151. “A reasonable accommodation is required whenever it ‘may be

   necessary to afford [a disabled] person equal opportunity to use and enjoy a dwelling.’”




                                                      3
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 4 of 10




   Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint George City, 685 F.3d 917, 923 (10th Cir. 2012)

   citing 42 U.S.C. § 3604(f)(3)(B). To state a claim of discrimination under the FHA for failure to

   accommodate, a plaintiff must show: (1) that the plaintiff or his associate is handicapped as

   defined by the FHA; (2) that the defendant knew or reasonably should have known of the

   claimed handicap; (3) that accommodation of the handicap may be necessary to afford the

   handicapped person an equal opportunity to use and enjoy the dwelling; (4) that the

   accommodation is reasonable; and (5) that defendants refused to make such accommodation.

   Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d 1177, 1183 (D. Colo. 2016). The Fair

   Housing Act may require an accommodation if the accommodation is necessary, i.e.

   indispensable or essential, in order for a disabled person to achieve an objective of equal housing

   opportunities to those that are not disabled. Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint

   George City, 685 F.3d 917, 923 (10th Cir. 2012). “When there is no comparable housing

   opportunity for non-disabled people, the failure to create an opportunity for disabled people

   cannot be called necessary to achieve equality of opportunity in any sense.” Cinnamon Hills

   Youth Crisis Ctr., Inc. v. Saint George City, 685 F.3d 917, 923 (10th Cir. 2012)

          Here, Plaintiffs have not pleaded allegations that raise a right to relief above a speculative

   level. Instead, Plaintiffs have largely relied on conclusions reciting the elements of the claim,

   which the U.S. Supreme Court has expressly held is not sufficient in order for a complaint to

   survive a motion to dismiss the claim. See Complaint at ¶¶ 141-153. See Ashcroft v. Iqbal, 556

   U.S. at 678-79; Bell Atl. Corp. v. Twombly, 550 U.S. at 555. Plaintiffs’ only specific factual

   allegation alleged as part of this claim is the statement that Mr. Sweeney requested the HOA

   require its members “to park in the street to the extent that they otherwise obstruct the


                                                    4
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 5 of 10




   sidewalks.” See Complaint at ¶ 149. The allegations are insufficient to support Plaintiffs’ claim

   for several reasons as addressed below.

          First, Plaintiffs have not alleged with any particularity that this requested

   “accommodation” is necessary, other than to again simply restate this element of the claim and

   indicate that it is necessary. See Complaint at ¶ 151. Nowhere in their complaint do Plaintiffs

   sufficiently allege that requiring other members of the community to park on the street is

   necessary to even the playing field between Mr. Sweeney and others who do not have a disability.

   Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint George City, 685 F.3d 917, 923 (10th Cir. 2012).

   “An accommodation is necessary when there is evidence showing that the desired

   accommodation will affirmatively enhance a disabled plaintiff's quality of life by ameliorating

   the effects of the disability.” Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d 1177, 1185

   (D. Colo. 2016). Indeed, Mr. Sweeney has not alleged anywhere in his Complaint that whether he

   is able to use the sidewalks of the neighborhood has any effect on his disability or his ability to

   enjoy his dwelling in the same way as those who do not have the same disability.

          Further, if the allegations in the Complaint and the photograph in the Complaint are to be

   accepted as true, the sidewalks that pass through the driveways in the neighborhood would be

   blocked for every individual wanting to use the sidewalk, not just Mr. Sweeney. See Complaint,

   p. 8 at ¶ 35 and photograph at bottom of page. If the sidewalk is blocked, it is blocked not only

   for him but for all, whether on foot, pushing a stroller or riding a bike.

          An accommodation cannot be necessary pursuant to the Fair Housing Act where it

   requests an opportunity for disabled people where there is not a comparable housing opportunity

   for those that are not disabled. See Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint George City,


                                                     5
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 6 of 10




   685 F.3d 917, 923 (10th Cir. 2012). Here, if Plaintiff’s allegations are to be accepted as true, then

   no individuals can use the sidewalks in the neighborhood, not just those that are disabled.

   Therefore, there can be no discrimination based on a disability under the Fair Housing Act, and

   Plaintiffs also have not pleaded any specific allegations as to how using the sidewalks will

   ameliorate the effects of Mr. Sweeney’s disability.

          Second, based on the allegations in the Complaint, Plaintiffs’ request is not a request for a

   reasonable accommodation as provided by the Fair Housing Act. Plaintiffs’ claims cannot

   survive a motion to dismiss simply by claiming that Mr. Sweeney’s requested accommodation is

   reasonable. “An accommodation is reasonable under the FHA when it imposes no fundamental

   alteration in the nature of the program or undue financial or administrative burdens.” Arnal v.

   Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d 1177, 1185–86 (D. Colo. 2016) citing Giebeler

   v. M & B Associates, 343 F.3d 114, 1157 (9th Cir. 2003). An accommodation is not reasonable if

   it requires “changes, adjustment, or modifications that would be substantial, or that would

   constitute fundamental alterations.” Alexander v. Choate, 469 U.S. 287, 300 fn.20 (1985)

   (internal citations omitted).

          Mr. Sweeney’s alleged request for an accommodation is not a request simply that he be

   permitted to do something contrary to the HOA’s policies because of his disability. Rather, his

   request is that the HOA rules be changed so that every other member of the HOA be required to

   do something differently than is otherwise provided for under the policies. See Complaint at ¶

   149. Based on Plaintiff’s own allegations, residents are currently required to park their vehicles

   in their driveways. See Complaint at ¶ 37. Plaintiffs indicate their request is that residents be

   required to do the exact opposite of what he claims is the current policy. Plaintiffs do not even


                                                    6
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 7 of 10




   attempt to argue how such a request could be a reasonable accommodation request, other than

   stating simply that it is. See Complaint at ¶ 150. The U.S. Supreme Court has held,

   unequivocally, that a conclusory statement such as this one cannot satisfy the pleading standard

   required to survive a motion to dismiss. See Bell Atl. Corp. v. Twombly, 550 U.S. at 555. This is

   particularly important here, where it is clear based on Plaintiffs’ allegations themselves that a

   request that every other member of a community be required to do the opposite of the current

   rules clearly is a fundamental and substantial alteration and an undue burden. See Alexander v.

   Choate, 469 U.S. at 300 fn.20; Arnal v. Aspen View Condo. Ass'n, Inc., 226 F. Supp. 3d at 1185–

   86.

          Moreover, as Plaintiffs allege, there is already a city ordinance in place to prevent parking

   a vehicle so to block a sidewalk. See Complaint at ¶ 49. Plaintiffs actually detail numerous

   efforts by the city to enforce its ordinance. See Complaint at ¶¶ 46-57. Plaintiff fails to allege

   any ability of Stetson Hills or Diversified to otherwise exercise control over city-controlled

   sidewalks. To require Defendants to attempt to enforce a city ordinance on Plaintiffs’ behalf

   would be unreasonable and should not be required. Arnal v. Aspen View Condo. Ass'n, Inc., 226

   F. Supp. 3d 1177, 1185–86 (D. Colo. 2016) citing Giebeler v. M & B Associates, 343 F.3d 114,

   1157 (9th Cir. 2003).

                                             CONCLUSION

          Plaintiffs Complaint against Stetson Hills and Diversified must be dismissed because they

   have not sufficiently pleaded a cognizable discrimination claim against them pursuant to the Fair

   Housing Act. Plaintiffs fail to support their claims with the requisite factual allegations that raise

   their claims above a speculative level. Specifically, Plaintiffs’ claims fail because there are not


                                                     7
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 8 of 10




   sufficient factual allegations to show that the requested accommodation was necessary or

   reasonable, or that these Defendants even had the ability to enact such a requirement.

          WHEREFORE, Stetson Hills Master Home Owners Association, Inc. and Diversified

   Property Management, LLC respectfully request that this Court enter an Order GRANTING this

   Motion to Dismiss, and dismissing Plaintiff’s Complaint against them in its entirely.



   Dated: March 8, 2018.

                                                Respectfully submitted,


                                            s/ Karen H. Wheeler
                                               Karen H. Wheeler
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                                               Jami A. Maul
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                                                Master Home Owners Association, Inc. and
                                                Diversified Property Management, LLC




                                                   8
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 9 of 10




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   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC.; and
   DIVERSIFIED PROPERTY MANAGEMENT, LLC,

   Defendants.
   _______________________________________________________________________________

                             CERTIFICATE OF SERVICE
   _______________________________________________________________________________

           I hereby certify that on March 8, 2018, I electronically filed the foregoing DEFENDANTS

   STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC. AND DIVERSIFIED

   PROPERTY MANAGEMENT, LLC’S MOTION TO DISMISS PURSUANT TO FED. R. CIV. P.

   12(b)(6)with the Clerk of Court for filing and uploading to the CM/ECF system which will send

   notification of such filing to the following e-mail addresses:


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                                                      9
Case 1:18-cv-00337-WJM-KMT Document 15 Filed 03/08/18 USDC Colorado Page 10 of 10




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                                                10
